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Pa
AO 93 (Rev. 12/09) Search and Seizure Warrant (USAO CDCA Rev. 01/201§)

 

UNITED STATES DISTRICT CoURT @ §§ § ii § §§§
for the
Central District of California

ln the Matter of the Search of
(Briefly describe the property to be searched
or identijjt the person by name and address)

16310 l\/|ARVENE DRlVE,
HAC|ENDA HElGHTS, CAL|FORN|A

Case No. 2118-lVlJ-03083

\/\./\/\_/V\/

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

 

of the following person or property located in the Central District of Caiifornia
( identify the person or describe the property to be searched and give its location)Z
See /-\ttachment A

The person or property to be searched, described above, is believed to conceal (ide)m’jj/ the person or describe the
property to be seizea§!
See Attachment B

 

l find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or `
property. Such affidavit(s) or testimony are incorporated herein by reference and attached hereto. t

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance
(not to exceed 14 days)
ii in the daytime 6:OO a.m. to lO p.m. t:| at any time in the day or night as l find reasonable cause has been
established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property Was taken, or leave the copy and receipt at the
place where the property Was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
on duty at the time of the return through a filing with the Clerk's Office.

(name)

 

 

ij l find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or Whose property, will be
S€EII`Ch€d Ol` S€lZ€d (check the appropriate box) ij fOI` dayS (not to exceed 30).

ij until, the facts justifying, the lat

ecific date o l .
Date and time issued: AM i §§ a
U " V n `Judge’s signature '

City and state: l_os Angeles, Califomia Honorable John E. |\/|cDermott, U.S. Nlagistrate Judge

Printed name and title

  

 

AUSA: Andrew Brown, iith Floor, x0102

 

 

 

 

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Ao 93 (Rev. 12/09) search and seem Wan'am (Pagez) Page lD #:51
Return
Case No..' Dat an time warrant executed.' Capy of warrant and inventory ejtwith:
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Invento)y made z'n the presence of.

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Inventoty of the property taken and name of any person(s) seized:

[Please provide a description that Would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of doeuments, as opposed to “miscellaneous doeuments”) as well as the approximate
Volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

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Cerlification (by officer present during the execution of the warrant)

 

I declare under penalty of perjury thatl am an ojz`cer who executed this warrant and that this inventory is correct and
was retained along with the original warrant to the designated judge through a filing with the Clerk's GMce.

Date.' HZSDL/,£ot€) //%W~
/Executing o,#ieer’ s signature

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1 inted name and title

 

 

 

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